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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 RASHETA BUNTING, Individually and as the
 representative of a class of similarly situated persons,
                                                                  Case No. 1:22-cv-5040-BMC
                                          Plaintiff,

                           - against -

 LATIN BEAUTY PERSPECTIVES, LLC,

                                            Defendants.
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                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                 Rasheta Bunting, by her attorneys, Shaked Law Group, P.C., and pursuant to

FRCP 41(a)(1)(A)(i), hereby provides notice of voluntary dismissal, with prejudice, and without

costs or attorneys’ fees, of the above-referenced matter against Latin Beauty Perspectives, LLC.

Dated: Scarsdale, New York
       October 3, 2022
                                                       SHAKED LAW GOUP, P.C.
                                                       Attorneys for Plaintiff

                                                    By:_/s/Dan Shaked________________
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